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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF WISCONSIN
                                   MADISON DIVISION


 Tenaha Licensing LLC,                                              Case No. 3:18-cv-728
           Plaintiff,
                                                                    Patent Case
           v.
                                                                    Jury Trial Demanded
 Singlewire Software, LLC,

           Defendant.


                              COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Tenaha Licensing LLC (“Tenaha”), through its attorney, Isaac Rabicoff,

complains against Singlewire Software, LLC (“Singlewire”) and alleges the following:

                                                PARTIES

       1.         Plaintiff Tenaha Licensing LLC is a limited liability company organized and

existing under the laws of Texas with its principal place of business at 3000 Custer Road, Suite

270-7027, Plano, TX 75075.

       2.         Defendant Singlewire Software, LLC is a corporation organized and existing

under the laws of Wisconsin with its principal place of business at 1002 Deming Way Madison,

WI 53717.

                                             JURISDICTION

       3.         This is an action for patent infringement arising under the patent laws of the

United States, Title 35 of the United States Code.

       4.         This Court has exclusive subject matter jurisdiction under 28 U.S.C. §§ 1331 and

1338(a).
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        5.      This Court has personal jurisdiction over Singlewire because it has engaged in

systematic and continuous business activities in the District of Wisconsin. Specifically,

Singlewire provides its full range of services to residents in this District. As described below,

Singlewire has committed acts of patent infringement giving rise to this action within this

District.

                                               VENUE

        6.      Venue is proper in this District under 28 U.S.C. § 1400(b) because Singlewire is

incorporated in Wisconsin and has its principal place of business at 1002 Deming Way Madison,

WI 53717. In addition, Tenaha has suffered harm in this District.

                                          PATENT-IN-SUIT

        7.      Tenaha is the assignee of all right, title, and interest in United States Patent No.

8,238,869 (the “’869 Patent” or “Patent-in-Suit”), including all rights to enforce and prosecute

actions for infringement and to collect damages for all relevant times against infringers of the

Patent-in-Suit. Accordingly, Tenaha possesses the exclusive right and standing to prosecute the

present action for infringement of the Patent-in-Suit by Singlewire.

        8.      On August 7, 2012, the United States Patent and Trademark Office issued the

’869 Patent. The ’869 Patent is titled “Lifesaver Personal Alert and Notification Device.” The

application leading to the ’869 Patent was filed on July 19, 2010 and is a national stage entry of

PCT/US2006/023972, which was filed on June 20, 2006, which claims priority from provisional

application number 60/693,541, which was filed on June 23, 2005. A true and correct copy of

the ’869 Patent is attached hereto as Exhibit A and incorporated herein by reference.

        9.      The ’869 Patent is valid and enforceable.




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       10.     The ’869 Patent describes a need for improved systems and methods to provide

alerts and notifications of emergencies to members of the general public. Ex. A, 1:58–62.

       11.     The ’869 Patent describes systems, devices, and methods of transmitting

emergency and non-emergency notifications to a plurality of users via a combination of wide

area and low-range transmissions. Ex. A, 1:65–2:12.

       12.      The ’869 Patent does not take a broad and simplistic method or process and apply

it to a general-purpose computer. Instead, the methods and processes described in the ’869

Patent specifically establish the process of utilizing various transmission devices such as siren

towers, radios, telephones, pagers, and television sets. Ex. A, 2:27–29.

                         COUNT I: INFRINGEMENT OF THE ’869 PATENT

       13.     Tenaha incorporates the above paragraphs herein by reference.

       14.    Direct Infringement. Singlewire has been and continues to directly infringe at

least claim 15 of the ’869 Patent in this District and elsewhere in the United States by performing

the steps of “providing emergency and non-emergency event notification to a plurality of users.”

For example, Singlewire sells the Singlewire Software Informacast in addition to Singlewire’s

Informacast notification services (collectively the “Singlewire product”), to provide emergency

and non-emergency notifications to users. The Singlewire product allows operators to send

customized messages to target users in mass. Upon information and belief, Singlewire directly

infringes both by using and internally testing the Singlewire product. See Figure 1;

https://www.singlewire.com/informacast.




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 Figure 1. The Singlewire Software Informacast system provides emergency and non-emergency
   event notification (e.g., emergency weather condition notification, general non-emergency
            notification such as power outrage, roll call, etc.) to a plurality of users.

        15.     The Singlewire product satisfies claim element 15(a): “using a low-range

transceiver to automatically relay within a wide area notification area a first emergency

notification signal from a wide area notification device, and to further provide an audible and/or

visible alert notification to the first emergency notification signal.” For example, the Singlewire

product operates by using a low-range transceiver (e.g., a radio signal) to automatically relay

within a wide area notification area a first emergency notification signal (e.g., an emergency

notification relating to a weather condition, or any other emergency alert) from a wide area

notification device (e.g., an Informacast Fusion Server), and to further provide an audible and/or

visible alert notification (e.g., a notification on a user from a radio, push-to-talk call, or a voice

message) in response to the first emergency notification signal. See Figures 1–4;

https://www.singlewire.com/informacast-high-availability; https://www.singlewire.com/reach-

everyone-wherever-they-are.




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Figure 2. An Informacast Fusion Server receives a general emergency notification (e.g., a severe
weather warning). A second site with an Informacast system receives an alert from a wide-area
             notification (e.g., from the Informacast Fusion Server from a first site).




  Figure 3. Once a site receives a wide-area notification, the Singlewire product transmits the
             notification to low-range trancseivers (e.g., through a radio signal).




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  Figure 4. The Singlewire Product receives a wide-area notification (WAN) and transmits the
                            notification to low-range transceivers.

       16.     The Singlewire product satisfies claim element 15(b): “manually, and

independently from the first emergency notification signal, providing a second non-emergency

notification signal to at least one of the plurality of users using the low-range transceiver,

wherein the non-emergency notification signal is a user-specific and event-specific notification

signal that is transmitted by an operator of the low-range transceiver to a wireless transmitter that

is worn by a user, wherein the user is a person other than the operator.” For example, the

Singlewire product may provide a second non-emergency notification signal manually and

independently from the first emergency notification signal (e.g., a system update or a general

non-emergency notification such as power outrage, roll call, etc.) to its users using the low-range

transceiver (e.g., a radio signal), wherein the non-emergency notification signal is a user-specific

and event-specific notification signal that is transmitted by an operator of the low-range

transceiver (e.g., a radio signal or a push-to-talk call) to a wireless transmitter that is worn by a

user (e.g., a mobile radio or a cellphone). See Figures 1–6;
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https://www.singlewire.com/help/InformaCast/v12.1.1/advanced/cucm/index.htm#t=InformaCas

t%2FInformaCast_Management%2FConfigure_Recipients%2FManage_Recipient_Groups%2FC

onfigure_Recipient_Groups.htm.




 Figure 5. The Singlewire product transmits the non-emergency notification via low-range to a
                    plurality of devices such as through push-to-talk calls.




             Figure 6. The Singlewire product can target specific users and devices.

       17.     Induced Infringement. Singlewire has also actively induced, and continues to

induce, the infringement of at least claim 15 of the ’869 Patent by actively inducing its
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customers, including merchants and end-users, to use the Singlewire product in an infringing

manner as described above. Upon information and belief, Singlewire has specifically intended

that its customers use the Singlewire product that infringes at least claim 15 of the ’869 Patent

by, at a minimum, providing access to, support for, training and instructions for its website to its

customers to enable them to infringe at least claim 15 of the ’869 Patent, as described above.

Even where performance of the steps required to infringe at least claim 15 of the ’869 Patent is

accomplished by Singlewire and a Singlewire customer jointly, Singlewire is responsible for the

actions that cause each of the steps of at least claim 15 of the ’869 Patent to be performed.

        18.     Tenaha is entitled to recover damages adequate to compensate it for such

infringement in an amount no less than a reasonable royalty under 35 U.S.C. § 284.

                                            JURY DEMAND

        19.     Under Rule 38(b) of the Federal Rules of Civil Procedure, Tenaha respectfully

requests a trial by jury on all issues so triable.

                                          PRAYER FOR RELIEF

WHEREFORE, Tenaha asks this Court to enter judgment against Singlewire, granting the

following relief:

       A.       A declaration that Singlewire has infringed the Patents-in-Suit;

       B.       An award of damages to compensate Tenaha for Singlewire’s direct infringement

                of the Patents-in-Suit;

       C.       An award of damages, including trebling of all damages, sufficient to remedy

                Singlewire’s infringement of the Patents-in-Suit under 35 U.S.C. § 284;

       D.       A declaration that this case is exceptional, and an award to Tenaha of reasonable

                attorneys’ fees, expenses and costs under 35 U.S.C. § 285;

       E.       An award of prejudgment and post-judgment interest; and
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     F.       Such other relief as this Court or jury may deem proper and just.



Dated: September 5, 2018                          Respectfully submitted,

                                                  /s/ Isaac Rabicoff

                                                  Isaac P. Rabicoff
                                                  Rabicoff Law LLC
                                                  73 W Monroe St
                                                  Chicago, IL 60603
                                                  (773) 669-4590
                                                  isaac@rabilaw.com

                                                  Kenneth Matuszewski
                                                  (708) 870-5803
                                                  kenneth@rabilaw.com

                                                  Counsel for Plaintiff




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